Case 9:18-cv-81258-DMM Document 229 Entered on FLSD Docket 01/27/2020 Page 1 of 8




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                       Case No. 9:18-cv-81258-MIDDLEBROOKS/BRANNON

   JUDITH MARILYN DONOFF, on Behalf of                CLASS ACTION
   Herself and All Others Similarly Situated,

                                 Plaintiff,
          vs.

   DELTA AIR LINES, INC.,

                                 Defendant.


   PLAINTIFF’S EXPEDITED MOTION FOR RECUSAL PURSUANT TO 28 U.S.C. § 455

          Plaintiff Walter Cappillo respectfully submits this Expedited Motion for Recusal pursuant

   to 28 U.S.C. § 455. As demonstrated below, this Court was required to immediately recuse from

   hearing this matter upon its original assignment to this Court and order the re-assignment of the

   case to a different judge.

                                              ARGUMENT

          Berkshire Hathaway, Inc. (“Berkshire”) owns a greater than 10% stake in Defendant Delta

   Air Lines, Inc. (“Delta”). See Ex. 1, Delta Airlines, Inc., Notice of Annual Meeting and Proxy

   Statement 24 (2019) (listing Berkshire as a 10.83% owner of Delta’s outstanding common stock

   as of April 15, 2019); Ex. 2, Berkshire Hathaway, Inc., U.S. Securities and Exchange Commission

   Form 4: Statement of Changes in Beneficial Ownership (Mar. 13, 2019) (disclosing that

   Berkshire’s ownership of Delta reached 10% or more), available at https://www.sec.gov/Archives/

   edgar/data/27904/000120919119019205/xslF345X03/doc4.xml?mod=article_inline;           see also,

   e.g., Bill Peters, Delta Air Lines Keeps Rising as AmEx Deal Raises Speculation of Warren Buffett

   Takeover, Investor’s Business Daily, Apr. 3, 2019, https://www.investors.com/news/delta-stock-
                                                  1
Case 9:18-cv-81258-DMM Document 229 Entered on FLSD Docket 01/27/2020 Page 2 of 8




   warren-buffett-delta-air-lines-american-express (reporting that Berkshire is the largest shareholder

   of Delta and “owns more than 10% of Delta”). Indeed, Berkshire owns nearly 71 million shares

   of Delta, valued at approximately $4 billion. Because this Court has a financial interest in

   Berkshire,1 and thus Delta, recusal is mandatory. See 28 U.S.C. § 455(b)(4) (stating that a judge

   “shall” disqualify himself when he “has a financial interest in the subject matter in controversy or

   in a party to the proceeding, or any other interest that could be substantially affected by the

   outcome of the proceeding”); see also id. § 455(d)(4) (“‘financial interest’ means ownership of a

   legal or equitable interest, however small”).

            Despite the accusations of gamesmanship that Delta is likely to cast in its response to this

   motion, Plaintiff and his counsel only today became aware of this basis for recusal. It is certainly

   not Plaintiff’s preference to have to raise this issue at this stage of the case, when the Court and

   the parties have devoted substantial time to litigating the matter in this Court. Had Plaintiff or his

   counsel learned of the facts supporting this recusal motion earlier, Plaintiff would have

   immediately filed a recusal motion then. And, critically, this is a problem of Delta’s own making.

   Had Delta complied with its mandatory disclosure obligations under Federal Rule of Civil

   Procedure 7.1, Plaintiff would have been alerted to the basis for this motion earlier and the Court

   could have addressed this matter when the case was first filed or shortly after. In any event, as the

   case law cited infra demonstrates, the timing of discovery of a conflict is irrelevant, and Plaintiff

   is under a duty to bring this issue to the Court’s attention based upon controlling law and the

   Court’s existing recusal practice.

            Under Rule 7.1, Delta was required to file a corporate disclosure statement that disclosed

   “any publicly held corporation owning 10% or more of its stock.” Even when this case was filed,


   1
       See Ex. 3, Financial Disclosure Form.
                                                     2
Case 9:18-cv-81258-DMM Document 229 Entered on FLSD Docket 01/27/2020 Page 3 of 8




   Berkshire’s ownership of Delta was nearly 10%. See Warren E. Buffett, Letter to the Shareholders

   of Berkshire Hathaway, Inc. 12 (Feb. 23, 2019), available at https://www.berkshirehathaway.

   com/letters/2018ltr.pdf (noting that as of December 31, 2018, Berkshire owned 9.6% of Delta’s

   stock). Thus, even at that time Delta should have disclosed Berkshire’s ownership interest in Delta.

   Nevertheless, Delta’s Rule 7.1 disclosure states that “there is no publicly held corporation that

   owns 10% or more of its stock.” [DE 6.]

          Regardless of whether Delta technically could avoid disclosure based on Berkshire’s

   holdings being just below 10% when this case was filed, Delta has always had a continuing

   obligation to “promptly file a supplemental statement if any required information changes.” Fed.

   R. Civ. P. 7.1(b)(2). As noted supra, Berkshire surpassed 10% ownership of Delta no later than

   March 2019. But Delta inexcusably2 has never supplemented its Rule 7.1 disclosure, which

   continues to—now falsely—report that no publicly held corporation owns 10% or more of its

   stock. Had it done so, this Court would have sua sponte recused or Plaintiff would have filed a

   recusal motion. Indeed, this Court’s practice is to immediately recuse from all cases involving

   corporate entities wherein Berkshire has a significant ownership stake. See Exs. 6 and 7 (orders of

   recusal of this Court in cases involving Berkshire-owned companies). The Court does so because

   it is well-aware of the requirements set forth in 28 U.S.C. § 455, wherein a judge “shall recuse”

   himself in any case where the judge “individually or as a fiduciary, or his spouse or minor child

   residing in his household, has a financial interest in the subject matter in controversy or in a party

   to the proceeding.” 28 U.S.C. § 455(b)(4); see also, e.g., Harris v. Wells Fargo Bank, N.A., No.



   2
     Delta is well aware of its disclosure obligations and, in other cases, has disclosed Berkshire’s
   interest in its Rule 7.1 disclosures. See, e.g., Exs. 4 and 5. There is no excuse for its failure to
   disclose in this case.

                                                     3
Case 9:18-cv-81258-DMM Document 229 Entered on FLSD Docket 01/27/2020 Page 4 of 8




   EDCV16645JGBKKX, 2016 WL 11525309, at *1 (C.D. Cal. Aug. 18, 2016) (“On June 20, 2016,

   Judge Snyder became aware that Berkshire Hathaway, Inc. owns 10% or more of Wells Fargo &

   Company’s stock. Wells Fargo & Company is the parent corporation of Defendant Wells Fargo

   Bank, N.A. Because Judge Snyder owns stock in Berkshire Hathaway, Inc., she recused herself

   from the case, and the case was randomly reassigned to the undersigned on June 21, 2016.”);

   Harris v. Wells Fargo Bank, N.A., No. EDCV16645JGBKKX, 2016 WL 11486587, at *2 (C.D.

   Cal. July 14, 2016) (rejecting argument that “that because Wells Fargo & Company is a parent

   corporation, and not a party to this action, Wells Fargo did not violate Rule 7.1 of the Federal

   Rules of Civil Procedure by failing to disclose Warren Buffett’s and Berkshire Hathaway, Inc.’s

   ownership in Wells Fargo & Company in the Notice of Interested Parties”).

          To be sure, the advisory committee’s notes to Rule 7.1 make clear that the rule is intended

   to disclose the very information that would warrant recusal:

          The information required by Rule 7.1(a) reflects the “financial interest” standard of
          Canon 3C(1)(c) of the Code of Conduct for United States Judges. This information
          will support properly informed disqualification decisions in situations that call for
          automatic disqualification under Canon 3C(1)(c).
          ...
                  Although the disclosures required by Rule 7.1(a) may seem limited, they
          are calculated to reach a majority of the circumstances that are likely to call for
          disqualification on the basis of financial information that a judge may not know
          or recollect.

   Fed. R. Civ. P. 7.1 advisory committee note (2002) (emphasis added).

          This Court has a direct financial interest in Delta, a party to this case, through substantial

   ownership of Berkshire. Based on this financial interest, the Court was never empowered to hear

   the case in the first instance, as recusal was mandatory under § 455. Just as in the attached orders

   of recusal from this Court, appearing in Exhibits 6 and 7, the Court was required to immediately

   recuse itself from hearing the matter. There is no discretion under the statute. “Section 455(b)(4)

                                                    4
Case 9:18-cv-81258-DMM Document 229 Entered on FLSD Docket 01/27/2020 Page 5 of 8




   embodies an actual knowledge test regarding disqualifying circumstances and provides a bright

   line as to disqualification based on a known financial interest in a party—i.e., an equity financial

   interest of any size is disqualifying.” Chase Manhattan Bank v. Affiliated FM Ins. Co., 343 F.3d

   120, 127 (2d Cir. 2003) (emphasis added); see also Emerson Elec. Co. v. Gen. Elec. Co., 846 F.2d

   1324, 1327 n.4 (11th Cir. 1988) (rejecting argument that district judge owning stock in party could

   hear case through consent and noting “[s]uch a suggestion overlooks that the parties cannot waive

   a ground for a judge’s recusal when that ground is a judge’s financial interest in a party to the

   proceeding. As relevant here, Judge Guin owns stock in GE.”).

             Additionally, not only is recusal mandatory here, but because a violation of 28 U.S.C. §

   455(b) existed from the inception of this case, the Court must vacate all of its rulings in the matter

   when ordering re-assignment of the case. Such an act is required by controlling precedent. Murray

   v. Scott, 253 F.3d 1308, 1313 (11th Cir. 2001) (“Congress has directed federal judges to recuse

   themselves in certain situations, and we accept that guidance. Judges must not recuse themselves

   for imaginary reasons; judge shopping should not be encouraged. Still, federal judges must early

   and often consider potential conflicts that may arise in a case and, in close cases, must err on the

   side of recusal.”) (ordering recusal and vacating summary judgment order entered by district

   court).

             Indeed, the Supreme Court has expressly found that vacating rulings is the appropriate

   remedy when a violation of 28 U.S.C. § 455 exists.

             [A]s the Court of Appeals correctly noted, Judge Collins’ failure to disqualify himself on
             March 24, 1982, also constituted a violation of § 455(b)(4), which disqualifies a judge if
             he ‘knows that he, individually or as a fiduciary, ... has a financial interest in the subject
             matter in controversy or in a party to the proceeding, or any other interest that could be
             substantially affected by the outcome of the proceeding.’ This separate violation of § 455
             further compels the conclusion that vacatur was an appropriate remedy.

   Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 866–67 (1988); see also Chase
                                                       5
Case 9:18-cv-81258-DMM Document 229 Entered on FLSD Docket 01/27/2020 Page 6 of 8




   Manhattan Bank, 343 F.3d at 131 (attempting to remediate conflict in midst of proceedings

   “cannot cure circumstances in which recusal was required years before and important decisions

   have been rendered in the interim. The statutory language, legislative history, and caselaw all

   support this conclusion.”).

          While Plaintiff just uncovered this mandatory basis for recusal, that does not alter the

   requirement of recusal, or the requirement to vacate existing orders, as it was Delta’s obligation to

   disclose financial ownership in itself pursuant to Rule 7.1. Delta did not comply with the rule.

   Moreover, 28 U.S.C. § 455(c) places an obligation on this Court to inform itself of financial

   interests requiring recusal. The Court has done so in identifying some entities wherein it has

   recused itself as a result of Berkshire’s ownership interest (see Exs. 6 and 7), and the same result

   must occur here as required by § 455.

          Finally, Plaintiff requests expedited treatment of this motion, and a hearing should the

   Court deem it necessary, as he is under an obligation to file a petition pursuant to Rule 23(f) by

   February 7, 2020, but pursuant to binding Supreme Court and Eleventh Circuit precedent, this

   Court’s orders, including the class certification order, must be vacated.

                                            CONCLUSION

          Plaintiff respectfully requests that the Court vacate all of its previous orders entered in this

   case pursuant to 28 U.S.C. § 455 and controlling appellate precedent, and subsequently issue an

   order of recusal.

                                     REQUEST FOR HEARING

          Pursuant to L.R. 7.1(b), and for the reasons set forth in this motion, Plaintiff is available

   for a hearing on this matter should the Court deem it necessary before recusing itself.




                                                     6
Case 9:18-cv-81258-DMM Document 229 Entered on FLSD Docket 01/27/2020 Page 7 of 8




                              CERTIFICATION OF CONFERRAL

          I certify that I conferred with counsel for Delta regarding this motion. Delta opposes this

   motion.

    Dated: January 27, 2020                     Respectfully submitted,

                                                s/ Alec H. Schultz
                                                Scott B. Cosgrove
                                                 Fla. Bar No. 161365
                                                Alec H. Schultz
                                                 Florida Bar No. 35022
                                                John R. Byrne
                                                 Florida Bar No. 126294
                                                LEÓN COSGROVE, LLP
                                                255 Alhambra Circle, Suite 800
                                                Coral Gables, Florida 33134
                                                Telephone: 305.740.1986
                                                Facsimile: 305.437.8158
                                                Email: scosgrove@leoncosgrove.com
                                                Email: aschultz@leoncosgrove.com
                                                Email: jbyrne@leoncosgrove.com
                                                Counsel for Plaintiff and the Class


                                                Paul J. Geller, Esq.
                                                 Florida Bar No. 984795
                                                Stuart A. Davidson, Esq.
                                                 Florida Bar No. 84824
                                                Jason H. Alperstein, Esq.
                                                 Florida Bar No. 64205
                                                Christopher C. Gold, Esq.
                                                 Florida Bar No. 088733
                                                Bradley M. Beall, Esq.
                                                 Florida Bar No. 1010635
                                                ROBBINS GELLER RUDMAN & DOWD LLP
                                                120 East Palmetto Park Road, Suite 500
                                                Boca Raton, Florida 33432
                                                Email: pgeller@rgrdlaw.com
                                                Email: sdavidson@rgrdlaw.com
                                                Email: jalperstein@rgrdlaw.com
                                                Email: cgold@rgrdlaw.com
                                                Email: bbeall@rgrdlaw.com
                                                Counsel for Plaintiff and the Class

                                                   7
Case 9:18-cv-81258-DMM Document 229 Entered on FLSD Docket 01/27/2020 Page 8 of 8




                                  CERTIFICATE OF SERVICE

          I certify that on January 27, 2020, I electronically filed the foregoing with the Clerk of

   Court using CM/ECF system which in turn will serve a copy by email to all counsel of record.

    Lazaro Fernandez, Jr., Esq.                       Gayle I. Jenkins, Esq.
    Denise B. Crockett, Esq.                          WINSTON & STRAWN LLP
    STACK FERNANDEZ & HARRIS, P.A.                    333 South Grand Avenue, 38th Floor
    1001 Brickell Bay Drive, Suite 2650               Los Angeles, CA 90071-1543
    Miami, Florida 33131                              Tel: (213) 615-1863
    Tel: (305) 371-0001                               Email: gjenkins@winston.com
    Email: lfernandez@stackfernandez.com              Email: rsalyer@winston.com
    Email: dcrockett@stackfernandez.com               Email: docketla@winston.com
    Email: gmartich@stackfernandez.com                Attorneys for Defendant, Delta Air Lines
    Email: mwolf@stackfernandez.com
    Attorneys for Defendant, Delta Air Lines

    David L. Balser, Esq.
    Julia C. Barrett, Esq.
    Katherine P. Nobles, Esq.
    Edward Bedard, Esq.
    KING & SPALDING LLP
    1180 Peachtree Street, NE, Suite 1600
    Atlanta, Georgia 30309
    Email: dbalser@kslaw.com
    Email: jbarrett@kslaw.com
    Email: pnobles@kslaw.com
    Email: ebedard@kslaw.com
    Attorneys for Defendant, Delta Air Lines


                                                      /s/ Alec H. Schultz
                                                        Alec H. Schultz




                                                  8
